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               IN THE UNITED STATES DISTRICT COURT
                  NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION

RAMONA THURMAN BIVINS,              )
                                    )
      Plaintiff,                    )
                                    )
v.                                  )              Civil Action Number:
                                    )              1:22-cv-04149-WMR
FELICIA FRANKLIN, in her            )
individual and official capacities; )
ALIEKA ANDERSON, in her             )
individual and official capacities; )
GAIL HAMBRICK, in her               )
individual and official capacities; )
and CLAYTON COUNTY,                 )
GEORGIA,                            )
                                    )
      Defendants.                   )
__________________________________
  DEFENDANT FELICIA FRANKLIN’S CONSENT MOTION FOR AN
EXTENSION OF TIME TO FILE REPLY IN SUPPORT OF HER MOTION
            FOR JUDGMENT ON THE PLEADINGS
      COMES NOW Defendant Felicia Franklin (“Defendant Franklin”) by and

through her undersigned counsel and hereby moves for an extension of time to file

her Reply in Support of her Motion for Judgment on the Pleadings [Doc. 44], through

and including April 28, 2023. In support of this motion, Defendant Franklin

respectfully show as follows:
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      Defendant Franklin filed her Motion for Judgment on the Pleadings [Doc. 44]

on March 3, 2023. Plaintiff filed her Response in Opposition to Defendant Felicia

Franklin’s Motion for Judgment on the Pleading [Doc. 49] on March 31, 2023.

Franklin’s reply brief is currently due on or before April 14, 2023.

      The request for an extension to April 28, 2023, is needed due to counsel’s

other conflicting deadlines and personal vacation time which took Defendant

Franklin’s counsel away from the practice of law during the first week of April.

Counsel for Defendant Franklin has conferred with Plaintiff’s counsel, and Plaintiff

consents to Defendant Franklin’s request for this extension. The Court has scheduled

a hearing on Defendants Clayton County’s and Gail Hambrick’s Motion to Dismiss

[Doc. 22], Defendant Anderson’s Motion for Judgment on the Pleadings [Doc. 29],

and Defendant Franklin’s Motion for Judgment on the Pleadings [Doc. 44] for May

22, 2023, and this extension will not interfere with that scheduled hearing.

      WHEREFORE, Defendant Franklin respectfully requests that she be granted

an extension through and including April 28, 2023, to file her Reply in Support of

her Motion for Judgment on the Pleadings. A proposed order is attached for the

Court’s convenience.

      Respectfully submitted this 11th day of April, 2023.




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                                             /s/ Melissa A. Tracy
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                                             Counsel for Defendant Felicia
                                             Franklin

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                     CERTIFICATE OF COMPLIANCE

      I hereby certify that the within and foregoing has been prepared in compliance

with Local Rule 5.1(B) in 14-point Times New Roman type face.


                                             /s/ Melissa A. Tracy
                                             Melissa A. Tracy
                                             Georgia Bar No. 714477
                                             mtracy@jarrard-davis.com




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                         CERTIFICATE OF SERVICE

      I hereby certify that I have this date electronically filed the foregoing

CONSENT MOTION FOR AN EXTENSION OF TIME TO FILE REPLY IN

SUPPORT OF HER MOTION FOR JUDGMENT ON THE PLEADINGS in

the above-styled civil action with the Clerk of Court by using the Court’s CM/ECF

system, which will automatically send notice of same to the attorneys of record.

      This 11th day of April, 2023.



                                             /s/ Melissa A. Tracy
                                             Melissa A. Tracy
                                             Georgia Bar No. 714477
                                             mtracy@jarrard-davis.com




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